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                                     UNITED STATES DISTRICT COURT
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12
                                         SAN FRANCISCO DIVISION
13

14   UNITED STATES OF AMERICA,                       )   Case No. 21-CR-0121 JD
                                                     )
15           Plaintiff,                              )   STIPULATION TO SET CHANGE OF PLEA
                                                     )   HEARING FOR DEFENDANT MIKSCH AND
16      v.                                           )   SET SENTENCING HEARING FOR
                                                     )   DEFENDANTS RUSH, YBARRA, AND MIKSCH
17   (1) JESSIE ALEXANDER RUSH,                      )
     (3) SIMON SAGE YBARRA, and                      )   Pretrial Conf.:      May 19, 2022
18   (4) KENNY MATTHEW MIKSCH,                       )   Time:                1:30 p.m.
                                                     )
19                                                   )   Trial:               June 6, 2022
             Defendants.                             )   Time:                9:00 a.m.
20                                                   )
                                                     )   Judge:               Hon. James Donato
21                                                   )

22

23           On February 22, 2022, the Court declined to accept the Rule 11(c)(1)(C) plea agreements
24 previously entered into by the government and each of Defendants Rush, Ybarra, and Miksch. See Dkt.

25 Nos. 114, 115, 116. The Court set trial for June 6, 2022 and the pretrial conference for May 19, 2022 at

26 1:30 pm. Id. Since then, the parties requested that the Court set change of plea hearings on April 25,

27 2022 for Defendants Rush and Ybarra. Dkt. Nos. 125–129.

28           Defendant Miksch now also seeks to change his plea. Therefore, it is hereby stipulated by and

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 1 between counsel for the United States and counsel for Defendant Miksch that the matter be set for his

 2 change of plea on May 2, 2022 at 10:30 a.m.

 3          Given that the Presentence Investigation Reports for the defendants have already been prepared

 4 by United States Probation, and with the agreement of Probation, it is hereby stipulated by and between

 5 counsel for the United States and counsel for each of Defendants Rush, Ybarra, and Miksch that the

 6 Court set the matter for sentencing for the three defendants on May 5, 2022 at 11:30 a.m.

 7 DATED: March 29, 2022                                 Respectfully submitted,

 8
                                                                /s/
 9                                                       ERIC CHENG
                                                         FRANK RIEBLI
10                                                       Assistant United States Attorneys

11
                                                               /s/
12                                                       ADAM PENNELLA
                                                         Counsel for Defendant Jessie Rush
13

14                                                             /s/
                                                         MARTIN SABELLI
15                                                       Counsel for Defendant Simon Ybarra

16
                                                               /s/
17                                                       DAVID J. COHEN
                                                         ALEX GUILMARTIN
18                                                       Counsel for Defendant Kenny Miksch

19

20                                           [PROPOSED] ORDER

21          Based on the representations made to the Court and the stipulation of the parties, the Court sets

22 the matter for change of plea for Defendant Miksch on May 2, 2022 at 10:30 a.m.

23          The Court also sets the matter for sentencing for Defendants Rush, Ybarra, and Miksch on May

24 5, 2022 at 11:30 a.m.

25          IT IS SO ORDERED.

26 DATED: March 31 , 2022
                                                         THE HONORABLE JAMES DONATO
27                                                       UNITED STATES DISTRICT JUDGE

28

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